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                    IN    THE    DISTRICT       COURT      OF    THE     NINETEENTH


               JUDICThL          DISTRICT       FOR      THE    STATE     OF   MONTANA


                          IN    AND    FOR    THE   COUNTY       OF LINCOLN


       CAUSE    NO       DV-95-29


       JOHN          LYLE       and
      GLEN               LYLE
                          Plainti.ffs


               vs

       W.R  GRACE    COMPANY
       Connecticut  corporation
       EJRL     LOVICK MICHPEL                      RAY
10     and JOHN DOES    through                     IV

                         Defendants

12


13                                     DEPOSITION
14                                                  OF


15                                           JOHN         LYLE


16                               On     Behalf      of Defendants


17


18


19                  Taken       at    the Lincoln County Courthouse
                                      512 California Avenue
20                                       Libby        Montana
                                 Thesday        February                1998
21                                             945 a.m

22


23


24
          Reported by Jolene                   Asa       RPR     and Notary Public
25          for the State of                   Montana          Flathead County



        HEDMAN        ABA            GILMPN    REPORTING            752-5751/752-3334
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                       ny other               doctors

                       No

                       Okay            Now       lets       talk about         asbestos


       little    bit         You       started         working       out     at    W.R        Grace


       in     1967      think          is     what     the records           indicate               Does


       that sound       about          right

                       Yes        sir

                       Before          that time             however         you    had       worked


       at      number       of    different            jobs    and different

 10    locations            If         recall         the    records         you    had       worked


 11    in Oklahoma          and Kansas             and      down   in    St       Regis       and


 12    different       places               Is   that       accurate


 13                    Yes

 14                    Tell me          about         your work         history before               you


 15    came    to be at          Grace           Lets        start      with      your    first


 16    job     which         understand               would have         been      probably

 17    when    you   were        about        16

 18                    Yes        sir

 19                    If         recall your               records.you            discontinued


 20    high    school       in    the tenth            grade

                       Yes        air

22                     And       was    that       at Troy


23                     Yes        sir

24                     And       did             quit       school      in   order       to    go to
                                        you

25     work    at that       time


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                      No           was    doing       everything

                      And    how    long did          you    do    that

                      Probably           year         three months              something


       like   that

                      Then    what         What       did    you       do next


                      Went    into       the    garage           bid    on      job      in the


       garage     and went        mecbanicking

                      Did    your brother             tell you          about that


       position      coming       up

10                    No     sir         They    come       up    for    bid

                      So everybody             in the company was                   aware       of


12     it

13                    Aware


14                    Of an opening             that    you       could       bid    on         Is


15     that   what    you    said

16                    Yes

17                    And    is    that where          you       pretty       much       stayed

18                    Yes     sir

19                    Did    you    always       work       pretty       much       in    the


20     same   location

21                    Not    really

22                    Could you          tell    me    about       your career             as


23     mechanic      there    at    W.R        Grace        where       you    worked           what


24     you    did

25                         worked      in the garage              when         first



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       started probably               two    years as            service      mechanic


       and then        shovel          mechanic       job come          open        bid    on


       that    and         got    that        and    then         worked      up in the

       mine     In    the mine               worked    on the          shovels      They

      had three       of    them Bucyrus-Erie                          worked    on the


       drills up there                 It    just got       --    It    was    so cold    up

       there that           bid       back    in the       garage

                     About        when       was    that

                     And     they got             rid of    the    shovels        and


10    went    back    in the garage


11                   When        was    that

12                         think       76     they got       rid of       that    last


13    shovel


14                    So you          went    back    in the       garage       after    that

15                   Yes         sir

16                   Now         was    that       the same       garage you       had


17    worked    in before


18                   Yes         sir

19                   Now         when       you    Garage

20                    Ill        say shop

23                   Or shop            is    this an enclosed                building

22                   Yes

23                   And     was       it         pretty    large       structure

24                   Yes         it    was

25                   Big     enough          to    bring    those       huge trucks       in



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       there    and work     on them


                     Yes     sir

                     Were    those       called       Euclids               or what       are


       they    called

                     Euclids yes

                     Could       they drive          those        in    there

                     Yes

                     About       how    many   people        worked              in the


       garage

10                   Well        they run       two    shifts               days and swing

11     so    Ill say      there    was probably             15              10    or 15    guys


12     on days and probably              10    on nights


13                   Okay         Did you      have        any     particular

14     position     or specialty          that       you    did        as         mechanic       in


15     the    garage

16                   No

17                   In other          words     you       didnt            work


18     exclusively        on transmissions             or    exclusively              on


19     brakes    or one o- those              type    of    positions

20                   Everybody          done    everything                  from changing


21     oil    to greasing


22                   So    once    you    got back          into        the       garage in

23     the    70s    late    703         did   you     stay there                  then      for


24     the rest of        your    time

25                   Yes


        HEDMrN      ASA      GIIMAN       REPORTING          .-    752-5751/752-3334
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                      nd then           the   mine       closed         and you         got


       involved     in    some     reclamation             work

                      Yes

                      2nd    that was         approximately                 when    1990


                      Yes        sir      They       closed      down             Yes

                      So did       the garage            remain open until                 1990

                      Yes

                      nd you worked                inside        the garage until


       then

10                    Yes

                      Where       was    the garage             in physical


12     relationship         to    the    mill

13                    Ill probably                 say    150   yards        from the dry


14     miii

15                    What       was    the dust          condition


16                    Very       dusty

17                    Did    it    ever       change

                                                          they built the new                  mill
18   ...              Not    really until

19                    Okay         Im not           familiar with             all    this


20     history        Could you          kind       of just          give    me         little


21     overview     of what        you    mean       when       you    say    it was          dusty


                                   the new          mill         How    long         period         of
22     until   they      built


23     time    are we     talking        about           or what       do    you mean         by


24     Dusty
25                        went     to    work       there       in    67          They    built



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      the    new    mill in             74      73     or    74      and    the    old     dry

      mill was          running          during       this time           and   Im pretty

      sure    that       it    still run             after the       new mill was           built


      for      little while                   there           dont        recall when        they


      shut    it    down

                         But       sometime in the                mid-70s          74      75     or


      whenever          it    was        they       shut    the old       mill down        because


      the    new    one       took       over         Is    that what       youre        saying

                         Yes
10                       2nd       do      understand             that the      new   mill got


11    rid of       alot        of       the dust


12                       Not       really

13                       Is    there          any    way    that    you    could      quantify


14    or help       me       understand             or appreciate          what    you     mean


15    when    you       say    Dusty
16                       Well           even    after       the    new    mill was       built

17    they had          silos in there                between       the garage         and the


18    mill .and          whenever             they    were    pulling ore out .of..

19    these    silos           it       had been       in there           and     it was     dry

2.0   and it       just       --    It    was       dusty    through       there

21                       Would          that come          into the garage


22                       In the summertime                   we    had all thedoors


23    open         It    wasnt                tight-sealed          garage             mean

24    there    was       vent       holes and          air holes entered                 and this


25    stuff would             come       in    there        yes


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                      Would       you    do major overhaul                 work       in the


      garage

                      You    mean       on engines           and    stuff       like       that

                      Yes         Right

                           wouldnt            no

                      But          mean         it    was    done    there       in    that


      garage        wasnt     it

                      In the       early part

                      Okay         Iguess            my point       is    obvious               If    it


10    was    too    dusty     they       couldnt            have    these       engines          all


11    laid open

12                    Right

13                    So    while       you     say    it    was    dusty


14                    They had            motor        room that          was    off       to    the


15    back    of    the    garage that           they       rebuilt the          engines             and


16    done    the heads       in        and     it    was      tightly          sealed          room


17    in there        but         never       did     work    in there                 was


18    mostly       heavy    equipment

19                    So    you    were       out     in the       garage       itself

20                    Out    in    the        garage    itself           and what          we


21    couldnt        work    on in the           garage        it was       out       in     ront

22    of    the garage


23                    Is    there       anything        else       that    you    can       tell


24    me    to help me       better           appreciate       the       extent       of the


25    dustiness       that    youre           describing                  mean        would           it




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       layer things          over            or wasnt           it    that       bad         Can you


       give me       some    sense of             what    the amount              of    dust       was

                       Well           the    smoke       stack        on the       dry mill          --



       tot    the smoke          stack         but it was                   They had big             fans


       in     there        There       was     supposed          to    be suction             fans    in


       this    dry mill           and        the stack          run up behind                the


       garage        and    it    had an elbow on                    it     and it was


       supposed       to be blowing                out away           from the buildingG

       1ut    there was               wind    up there           all the          time and           it


10     b.owed    through          it        and    this    --        The    opening          for    these


       fans    that were          going        through          this and          the dust


12     coming    out of          it    was    probably                thiee-by-three

13     square    that       this dust             blowed        out    of    it        and    it


14     blowed    all down             across       the garage              and    the    mine


15     office


16                     nd how           long did          that        go    on

17                     Until          they    shut       that        mill down


1$                     In the          mid-70s

19                     Witness              nodded       head              After       they got

20     that    new    mill going

21                     After          the new          mill got        goingj          how    did    it


22     compare

23                     Well             lot       of    times        that mill          --    The    new


24     miii they had to get                       the    bigs        worked       out    of    it

25     mean-    it    didnt           work    properly               and         lot    of    times



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        they would go back             and    start that          old    mill up again


        to run     maybe        for       couple       three       days until             they


        got    this new       one ironed       back    out

                        Was     there anything         that       you    can       remember


        during           of    that    time    that    amounted          to    complaints
                  any

        by yourself          or other mechanics             or    fellow       workers


        about    the    dustiness       at that       time

                        Yes      They     complained         about       it
                        Can you       tell me       what    you remember about

 10     that

 11                     The    people         worked       with         Is    that what

 12     youre     asking

 13                     Yes     sir

 14                     They would        just make         rematks          that    it    was


 15     dusty     and they would             try and       clos   the         doors       on    the


 16     garage         They had       20-by-.20      garage doors              and    they

 17     wasnt     --    Like      told       you     they wasnt              sealed


 lB     tightly         You    could    be    laying       underneath               rig        and


 19     this    dust would still be blowing                      underneath          and


 20     around    th doors        in from the wind that                      was    catching

 21     this stuff and blowing                it through          there            Some


 22     nights         would go home          in the evening             time        and when


 23     it    got time       for me    to go to bed              Id go        in and       take


 24          shower     and      would       take    my clothes          off        and    even

 25     on my    skin    this    stuff would          be    stuck       to    me      Itwas



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        that     bad        where       youre       working        on         rig and       it    would


               down                                                             It                 It
        go                your neck       and down         in your                   was


        was     bad

                            Okay         Were    there       meetings          or discussions


        in     the    more       formal    sense between                the workers          and       any

        of     the    managers          during      that     time about             the


        dustiness

                            No

                            Okay         Did    that    situation             change       from


 10     about        the time       the    new      mill went           into operation             fn


 11     the     mid-70s until              the mine closed                in 1990


 12                         It    got      little better


 13                         Can   you     tell me       during          that    15-year period


 14     what     the improvements                were      and when           they    occurred


 15     and what          you     noticed

 16                         Well        sir         want     you    to    understand             that


 17     this     stuff that             laid up there          --       The    banks             The


 18                          built        and there          was         bare       bank    behind
        garage was

 19     it      and the          roads    were      just dirt           roads and they

 20     might have           --    It    might      have     tried to          straighten          up


 21     with     that       --    Pardon       me      But with          that       new mill


 22                        but    the traffic          was    so          It    was       heavy    in
        running

 23     front        of    the garage           and the main road                   from the


 24     When               come    up on the hill              it       was    --    you    come
                 you

                                               in front       of    the       garage        and all
 25     right in and passed



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                          Bob    Graham           Don    Riley

                          Whbelse

                          Ronnie       Halverson              Rudy       Kaeding              lot of


       these       guys          not Rudy          yet          are deceased


                          And    so    prior to          your discovering                   that you


       have    some       asbestos-related                   condition           you believe

       in 1993           you    never had any                conversation             with    either


       fellow       workers       or    management             at    Grace       a1out       the


       risks of          working       around asbestos                     Is    that what


10     youre        saying

11                        Thats        what       Im saying
12                        Okay         Now        there       was        period        of    time


13     when    you       first started             at    Grace       where        initially


14     you    were       doing          think           construction             and not


15     mechanic          work    for the          first year or             so

16                        Yes     sir

17                        And    during       that       year        did you          work    in


18     different          locations          at    the       mine

19                        Yes          did

20                        Could you          kind       of walk me          through          that


21     period       of    time        the different             places          you    worked       and


22     what    you       did    and so       on

23                             probably       spent          six months          in the mill


24     in    the    old    dry mill and                 we    were       repairing          chutes

25     and         was    sweeping       the floor                  We   would        sweep the



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       dust    from --          Wed     start at the                top     floor in the


       mill           forget          how    many    floors          that old           dry mill

       was     but    we       would    tart at           the       top    and     sweep them

       down    through          holes       onto    the next          floor             Then       if    it


       got    too    much             Wed     sweep it down                 to    where       it    was


       the    closest          belt     and then          we    would shovel              it       onto


       the    belt        which        in turn        would carry                 it    out over


       the    waste dump              and that       was       very dusty               sir

                          And    you    did    that       for several              months


10     initially

11                             would    do it off and                on            spent           like


12     say     just       roughly       six months             in    that        dry mill but

13     it    was    off    and    on         When    you worked              on construction


14     when         first went          there        if    the       sweeper           went    on


15     vacation                                out    of             They        called       it    the
                          they pulled

16     labor pool               They    pulled       out of          construction                  and


17     youd go        in over          there        and you          got     loaned       out       for


18     this    week        and you          done    that       mans         job    while       he was

19     on vacation

20                        So    you    did    some    sweeping              in    addition          to


21     construction             work

22                        Yes          did

23                        What    else       did    you    do during              that    first


24     year

25                             would    get loaned             Out           in the mine



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        department             was    the dump boss

                       What    does    that       mean

                       Its     where       you    stand          there     and     this dump


        is     long ways       down        and when          the    Eucs back           up

        there    you    stop    them       so    they       dont     go over           the dump


                       Was    that particularly                   dusty up there

                       Yes     it    was

                       What    else    did       you       do.during       that        year

                       Iworked        in the          --    They had -- From                 the


 10    old    trnsfer point            they had             such         thing they


 11    called    it      raise        where       the ore          fell    down        through

 12    this three-by-three box                   and went          onto    the main belt


 13    and carried       it    to the mill                  On    weekends        we    would       go

 14    up there       and weld       these       new       bars    back    in     this raise


 15    because    the    ore        when    itfell down through                        it     would


 16    wear    these    bars    out         We    would weld             them     --    stand       up

 17    in this box           and there          was    usually       two of        us on


 18    weekend        and we    would       take       turns       welding        these       bars


 19    back    in this       box     and thats              what    that     --    This       was


 20    under    the mill department                   too

21                     Was    that    dusty

22                     Yes     it    was        standing          up in there                This


23     stuff is popping               When       youre welding               --    Its

 24    laying on these          bars        and you          had to       get     up there

25     with      cutting       torch       and    cut       this    stuff       out          Youve


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        got.goggles             on     and wIen          you    cut       the    bars out to


        weld       the    new    ones       on     this stuff             is popping             all in


        around you              and    theres no way                 to    escape       it          Its

        just makinga              dusty area             in    it

                           Is    there       anything          else you          did    during          that


        first year that you                       havent       told me          about

                                worked       on the mill              miU        maintenance.


        would do the same                   thing              would       --    If    they needed


        some       help on mill maintenance-                     --       They had          crushers


 10     up in the          old    dry mill that                would crush             big       chunks


 11     of    ore        and they       -were      big    rollers that                the ore          fell


 12     through           and    these       crushers would crush                      it         We    had


 13     to    --    We    would       change       these       rollers           me    and Jerry


 14     Leadham           and    what       they would          do          There was             maybe


 15     two    or three          on this           ne floor           and while             we    shut


 16     down       to    change       the rollers on this                   one        these        other


 17     ones       were    rolling          and crushing             all    the       time          Plus


 18     there       was    tables       up there          shaking1          getting          this


 19     stuff       --    Its     just       like sluice             box    gold       mining            The


 20     bigger          stuff stays           and       the rest goes                 and    its this

 21     type of          thing         We    would change             these       crushers             out

 22     Sometimes          it    would       take       two-   or three          days to change

 23     these       big    rollers          out

 24                        So    you    were       working       in       that    mill area

 25     doing       that



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                           Yes        sir

                           anything          else you       did    during        that    first


        year

                                done quite               bit                     we --
                                                                    mean
        worked       with       Don    Riley         He    was    the working           foreman


        at    the    time

                           Did    you       wear    respirators          at all        during

        that    first year

                           The    supervisOrs             didnt     even     wear       them

 10                        Did    you       smoke    at that       time     in    your life

 11                        Yes             did

 12                        So    you       would    smoke wherever           you       were    at

 13                        We    would       step    out           worked        with    Don

 14    Riley        in this                on these       big    cyclone           Of        the


 15     side of       the mill theyve                     got some       kind     of         ceramic


 16     tile stuff               It    was    an inch       thick        and we        had     to    go

 17     down    in    this silo and                 we    would    chip     out all          this


 18     the    old    ore and stuff                 and we       would     take    turns doing


 19     this        and    then       we    laid this ceramic              tile around              in


 20     this silo               They were          actually       wear    plates         but        they

 21    were          ceramic                 believe       they got        them    from Japan


 22    but they                 They were          kind    of      wedge     type        and        they

 23    just stood           in there          to    keep    the    silo     from wearing


 24    out

 25                        You    would       replace       these    tiles


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                       We    would       --     It        was      new       thing            We    put

       them     in     They were              an experimental                 type       of    thing

                       What       held        them        in place


                       There was              some        sort of       motor                 dont

       recall       what    they       shipped            with    it

                       That.wasnt               particu.arly                 dusty when             you

       were    putting       that       tile        iii    there

                       Yes        it    was         in there             We       had to       clean


       all    the    old ore       out of the inside                     of       there        and we


 10    ould     take       turns off and                  on      We    would spend                maybe


       an hour        individuals               going           down    in    there       and


 12    chipping       this       out          The    only        thing       we    had    for air


 13    was    where    the       ore    run out the               bottom           which       is


 14    hole about.thIs             size         and the           hole that we                come    down


 15    through       the    top    in     which            is    probab.y          about       this


 is    size and we           would       spend            time in there                  That       was    in


17     67     that    we    done       this         the     time       that         was       on


18     construction


19                     Okay.           Have     we    pretty           well       talked       about


20     everything          that    you    did        while        you were          employed          at


21     Grace

22                     Pretty much                   Unless        you wanted             to say


23     something             go over           something           about          during       the


24     reclamation          of    it     tear        down

25                     What       can    you        tell me about                 that



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                        That    there were             several      dusty areas           up

        there    during       all this here              and the          supervisors          did


        not care         They    wanted          to    get    it   tore down        the best


        and the       fastest    way       they       could

                        Was    the    reclamation             done before          you     first


        learned       about    the    health          risks associated             with


        asbestos       in 1993        or were          you    still       working       there


        when    you    discovered          that

                        Sir          heard about             the   health       risk       like


 10     say     word    by mouth           under       the different            employees

 11     There wasnt           no supervisor             that       told    us      If    you    did


 12     ask           questions             It    was         nuisance       dust        is    what
               any

 13     they told       us

 14                     What    Im trying to get                    is      time    line and

                                     is    that               first became          fully
 15     my undrstanding                                you


 16     aware    of    the health          risk in 1993              after you          met    with


 17     Dr Whitehouse

                        Yes

 19                     Were    you       still       working       for    Grace    at that


 20     time    as    part    of the       reclamation             project

 21                     Yes

 22                     Did    you    quit       working       for Grace         at that


 23     time

 24                     No       did       not

 25                     In your complaint                there       are certain



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        allegations made                   about    the       way    the       reclamation          was

        handled            Do       you    feel    that       was    handled          improperly

                                      MR     SULLIVAN                 guess            would object


        to    the    extent          that    it    calls       for         legal       conclusion


        and    its obvious                 that    the attorneys                for    the    client


        drafted          the    complaint          and not          the    client          himself

        BY    MR     HOISThD


                           Im asking              for your own             laymans

        understanding                of    what    your position                is     sir

 10                        It       could    have       been    handled          better

 11                        Can       you    tell me       what       youre referring                    to


 12     that you          feel       was    done    improperly             as         worker


 13     there

 14                                   MR     HOISTAD            You       can    have         standing


 15     objection              Roger

 16                                   MR     SULLIVIN               Okay

                                      THE    WITNESS            Like            say    --    Let1s


 18     take    the       lower ore bins                down    at    the       river for an


 19     exanle             Some       of    that    ore       in there          was    probably          as


 20     old    as    back       in    the    late       t405        early       40s         and    it


 21     laid on that                bottom        and we       would             When       they    got

 22     ready       to    tear them down                 we    went       in    there with


 23     cutting          torch            They    were    tin         We       cut    an


 24     eight-by-eight                hole       in the       side of          that        right in

 25     the    bottom          of    it     and then          they put          me    on      backhoe



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        and        backed      that    backhoe          up     in   there       and the       ore

        was    stuck    to     the    walls on the backside                       and         was


        taking       that backhoe        and raking                 and   they were          still


        shipping       during        these    days            and there was             hole       in


        the    bottom    of     that silo           and           belt    run underneath


        it     and      had to           was       knocking          this down         and


        getting it       through        there       so        it would     go through             that


        bole

        BY    MR     HOISThD

 10                     What     do you       see       is    the    problem      with       --



 11                     Well         it was    .dusty         doing       it sir

 12                     Did    you     wear         respirator

 13                          tried     to     yes

 14                     At what       point        in time are we               talking

 15     about

 16                     In     92
 17                     What     else    that       you       remember         about    the


 18     reclamation          project     that       sticks          out   in your memory


 19                     Well         its when           they tore         down    --    When


 20     they put       these     silos on the ground                      we    took          had


 21     to    go up in the top                We    put an I-beam through                     it


 22     and took       the loader            them       992    loaders         and pulled


 23     them over            It was     just       --    When       they hit      the    ground

 24     there was       nowhere        for us       to       go     because      the river


 25    was    here      and the back           of       the ore       bins     was     here        and



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        there      was     nowhere       for us to go except                     stand       there

        When    they hit          the    ground               That stuff             had    laid


        there      probably        from the           30s       and when             they hit       the


        ground        it    was    just like an atomic                     bomb going          off

        It   was    just          big    mushroom              It    went       up    into the


        air     and        of    course1        the office           was    right          up behind

        it

                           Were    you     wearing             respirator that                day

                           No      They wasnt            available

 10                        When    was this now

 11                        This    was     in    90     -.-    from 90           to     93
 12                        There were         no respirators                available

 13                       No      sir there were not

 14                        Did    you    ever     ask    for        one

 15                        We    did

 16                       Who     is    We
 17                        The    people         worked         with            There were          20


 18     of   us left

 19                       All right             So    these         are    all examples

 20     youre      telling         me      of the way           you       feel       grace


 21     mishandled          the demolition              and the           reclamation          of.the


 22     mine area while                working        there     during those                years

 23                       Yes

 24                       There        came       time         then        in    1993       where    you

 25     learned      from        Dr     Whitehouse            that    you       might have          an



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                       When

                       He    was    there    during       --    He   worked       in the


       mine    department

                       At what       point       in time       are   we    talking

       about

                       Probably       from       90
                       And    you    and    Mr     Halverson         had

       conversation          about    the dust


                       Im not        saying we          had      conversation


 10    Its     every    --    Plumb    back       into the       80s       the    people


 11    would    just talk about             --    Conversations                 What   is


 12    this stuff       coming       down        you    know         That was      the


 13    extent    of    it      You    go on about             your damn         business


 14                    Is    there    anything          else    that      you    can


 15    remember       that you       can    tell me       specifically            as   far       as


 16    what    somebody       said    at         specific       time

 17                    No     there    isnt

18                     Was    there    ever       any    discussion         about


19     tremo.ite       and    any    particular          hazards       assoÆiated           with


20     tremolite

21                     Yeah        there    was

22                     When

23                     Late     SOs
24                     Who    was    involved

25                     Kendra       Lynn


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                           nyone else

                                never       knew        what    tremolite             was    or what


        she    was    even        talking          about            We    were       handed             We


        had these           little machines                   that       she    would come            along

        and hang       on your belt                     and it was             to    measure       fibers


        in    the    air or some             damn        thing                 could       never

        understand           what      --    If     you       even asked             about       it     they

        took         long       way    round        about       answering             your

        question             Why      are you           doing       this            They took            long


 10    way     around        about         it      and then          when       they got done

 11    you     didnt         understand             even       what       in    the       hell they


 12     even    said            They beat           around          the    bush       about       it

 13    They     didnt           come       right out           and tell             you    that    it    was


 14    hazardous           to your health


 15                        This       was    in the           late       80s         you    say

 16                        Late       80s yes                 but Bill McCaig                    even

 17    would hold            --    have      meetings           or be          like               telling

 18    us about        ---      Wed        have          meeting          about       something

 19    Maybe        somebody          in the        back       of    the room would                get up

 20    and say         What        about          the    damn       dust

 21                        It     wont       hurt        you         Its        nuisance          dust

22     and     carry       on         If    youre         somebody             asking       about


23     why     --    What       can    you        tell us about                this       damn    nuisance


24     dust         what     Im telling                 you    is        he would go             around


25     and     then    use        some      damn        words       that you          didnt        even



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        understand

                           This    was       in    the    late 1980s


                           In the       late       1980s

                           Do    you    remember          anything         more     about    those


        meetings          as to where             they    were       or when      or who was


        there

                           we    had them          in the garage               We   had them           in


        the new       lunchroom

                           Would       they       have    been       meetings       scheduled          to


 10     discuss       --


 11                        No     it    was       not      Some guy         would     --    in the

                                                                            and                    --
 12     back    of    the toom          would bring             it    up            that    was


 13     Thats        as    far    as    it    would       go

 14                        Okay

 15                        Earl Lovick             has    even       said     Its     nuisance


 16     dust

 17                        When    do you          remember          him making       that


 18     statement          to    you

 19                        When    we    would             Me    and Rudy         Kaeding


 20     worked       in    the    garage          together            Earl Lovick             We


 21     would    take       this pulmonary                test        and we      would be in


 22     the warehouse                   go over          to the       warehouse       to    get

 23     parts         ar1        Lovick       would       be    in    there       andwed          ask


 24     him     How       did    that pulmonary                test    come    out

 25                        Same    as     last      year


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                       Are you        going        to do anything             about       the


        dust

                       It     wont        hurt     you         Its          nuisance       dust

                       About        when     would       you

                       Probably            85 86
                       All right              Now        this is            tremolite


        monitor    or gauge          you     were    describing

                       Yeah

                       e1l      me    about        that         How    is    it    --


 10                    They     called        it    an air pump


 11                    .When    was       that

 12                    It     was    86       87 88               Hell             dont

 13     recall     sir

 14                    Arid    you    were       asked     to    wear       these

 15                    Yeah          On     occasion            Whatever          they wanted

 16    to    measure    in that           department

 17                    Did     you    wear       one yourself


 18                    Idid

 19                    And     did    you     ask    questions          about       it

 20                    Yeah          Why     are    we   doing        it

 21                    Its      to    measure        the       fibers       in this

 22    department

 23                    What     more        could    you       want         What    more       do


 24    you   ask

25                     You     never       asked     for        Why   do we        need    to




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        downtown                would like             for you          if    you    could       to


        get them       to      gt me             doctor       in Spokane                  know      all


        around       it        So    she    called          them and they said there

        would be no problem                       They hooked               me up with         this


        Dr     Bradley over               in Spokane          at      the    Rookwood       Clinic

                          So         went    to    him           He    said        Theres

        nothing      wrong          with    you         You      dont        have    no problem


        no exposure

                          1n1991

 10                       Or     92        somewhere          along         there     and      they      --



 11     So      came      back       and went          to    work       and    like         say

 12     just kept         wondering          in    ay            Because       this doctor


 13     over    here      never          x-rayed       me        He    never       gave   me


 14     pulmonary         test       or nothing               He      just    went    in there


 15     with    the stethoscope                  and    checked         me    over    and      sent      me


 16     back    to   work           which         went       back      to    work     and


 17     figured           better          just carry          this           little       further


 18     find out why            Im having              trouble         here

 19                       It    wasnt        based          on anything            that   you    had


 20     heard    from other               workers       or anything at               Grace

                          No        it    wasnt

 22                       So    what       did    you       do     then       to    carry      --


 23                            went       to Whitehouse

 24                       How       did    you    get his name

 25                       Through          another          employee



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                        So you       did       talk to other          employees about

       the    risks     of    working          there

                        This Rudy          Kaeding            He    had been        to   him

       He    was    having     trouble          and he        didnt       know      why

                        So what          happened            You    just called          up

       Whitehouse        and asked             for an appointment


                        Yes          did

                        This       wasnt       set     up through         an attorney


                        No     sir        it   sure was        not

 10                     Did    Dr        Whitehouse          put you      in touch        with


 11    an attorney            then        after


 12                     No sir he did not
 13                     After       Dr Whitehoue               examined         you      then

 14    did    he sit     down       and give          you    some    literature and


 15    explain        things       for    you        or where       did   you       develop

 16    your    --



 17                          went    in there          and    took    his pulmonary


 18    test    and-    his    x-rays                 went    down    and had


 19    conference        with       him and he told me                    --   He    said

 20    Youve        got asbestos           exposure           and     basically           thats

 21    what    hes      told       me

 22                     Okay         Did you          tell him about            the


 23    examinatiOn           you    had just          had      short while            ear1ie

 24    with    --


25                      Yes        Idid


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